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FILED

UNITED STATES COURT OF APPEALS MAR 0 7 2008
for the Ninth Circuit
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Billings, Montana 59107-1478 NORTHERN DISTRICT OF CALIFORNIA
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United States Circuit Judge

MEMORANDUM TO RECORDS UNIT

TO: Office of the Clerk
United States District Court
Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

FROM: Susan Ando
DATE: March 3, 2008
RE: U.S. v. Oakland Cannabis
USCA #05-16466
USDC #C-98-0088-CRB
Enclosed are the following records in the above case which we are returning to
you at this time:

Nine (9) volumes clerk record

Five (5) expando folders
